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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

 WILDSEED MOBILE LLC,                    §
                                         §
                          Plaintiff,     §   Civil Action No. 6:22-CV-00357-ADA
                                         §
 v.                                      §   Jury Trial Demanded
                                         §
 GOOGLE LLC and YOUTUBE, LLC,            §
                                         §
                          Defendants.
                                         §


      DEFENDANTS GOOGLE LLC AND YOUTUBE, LLC’S OPPOSED MOTION TO
           TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA




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          Defendants Google LLC and YouTube, LLC (collectively, “Google” or “Defendants”)

respectfully request that the Court transfer this action to the United States District Court for the

Northern District of California (N.D. Cal.) pursuant to 28 U.S.C. § 1404(a).1

I.        INTRODUCTION

          Plaintiff Wildseed Mobile LLC (“Wildseed”), which incorporated in Texas only last July,

is asserting five recently-acquired patents against a host of services provided by Google, including

Google Search, YouTube, Google Docs/Drive, Google Meet, and Google Photos. None of the

product and engineering teams that helped build and maintain the functionality that Wildseed

accuses are located in the Western District of Texas (W.D. Tex.), or in Texas at all. Rather, they

are based elsewhere–with more in Northern California than anywhere else. Unsurprisingly, then,

Defendants are aware of no relevant personnel (much less anticipated trial witnesses) assigned to

work from Texas. Potentially relevant documents were also created and are maintained outside of

Texas, primarily in Northern California. And numerous third-party witnesses are located in

Northern California and none—to Defendants’ knowledge—are in Texas. In short, the potentially

relevant witnesses and events giving rise to this case are based primarily in Northern California.

          Any connection between Wildseed and the W.D. Tex. arises entirely from Wildseed’s

attempt to manufacture a connection for purposes of litigation. Wildseed’s presence in the district

is a mere mail drop located in a co-working space that opened after Wildseed filed the first version

of this suit. Wildseed itself appears to have been formed by its New York-based manager, Michael

Jemal, for no reason other than to shift patents from his Delaware-based LLC into Texas to create

the appearance of a link to this state and thereby burnish any purported ties to this judicial district.



1
    As indicated in the Certificate of Conference, Plaintiff opposes this motion.




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          In sum, every factor of the transfer analysis either weighs in favor of transfer to the N.D.

Cal. or is neutral; none favors keeping the case in this District. Thus, transfer is warranted.

II.       PROCEDURAL HISTORY

          Wildseed originally filed suit on December 1, 2021. In its complaint, Wildseed accused

    Google LLC and YouTube, LLC of infringing five patents.2 That suit identified Wildseed’s

    “place of business” as 510 Austin Avenue, Waco, TX. Defendants moved to dismiss.3 Wildseed

    amended its complaint in response.4 The parties met and conferred, and Defendants noted they

    would move to dismiss again for failure to state a claim. Without notice, Wildseed dismissed

    its lawsuit on April 4, 2022–shortly before Defendants planned to file that second motion.5

          Inexplicably, that same day, Wildseed filed the present action, which includes a nearly

    identical complaint asserting the same five patents as asserted in the complaint filed last

    December.6 This lawsuit again identifies Wildseed’s “place of business” as 510 Austin Avenue,

    Waco, TX. Defendants again moved to dismiss for failure to state a claim.7 Wildseed again

    responded by filing an amended complaint.8 Defendants answered on June 6, 2022.

III.      FACTUAL BACKGROUND

          A.      More witnesses are in N.D. Cal and more documents are created and
                  maintained in N.D. Cal. than any other location.

           The headquarters and strategic hub of Google’s business is located in Northern



2
  See No. 6:21-cv-01245-ADA, Dkt. No. 1. The five asserted patents are United States Patent
Nos. 7,376,414 (the “’414 patent”), 9,141,960 (the “’960 patent”), 10,251,021 (the “’021
patent”), 10,959,040 (the “’040 patent”) and 10,869,169 (the “’169 patent”) (collectively, the
“Asserted Patents”).
3
  Id., Dkt. No. 39.
4
  Id., Dkt. No. 45.
5
  Id., Dkt. No. 50.
6
  No. 6:22-cv-00357-ADA, Dkt. No. 1.
7
  Id., Dkt. No. 44.
8
  Id., Dkt. No. 46.


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    California–specifically Mountain View and neighboring Sunnyvale.9 As of April 2022, the

    Mountain View headquarters employed about              employees (about          of Google’s U.S.

    employees).10 Google also has over          employees in San Francisco and other smaller offices

    located in the N.D. Cal.11 Nearly       of Google’s total U.S. employees, including engineers,

    product managers, marketers, executives, and staff, are located in the N.D. Cal.12

           Google has no offices or facilities located in Waco.13 Google maintains relatively small

    offices in Austin and San Antonio. The Austin office maintains only          of its employees and

    the San Antonio office has only      employees.14

           YouTube, LLC was founded in Northern California in 2005 and acquired by Google in

    late 2006.15 In 2006, YouTube, LLC moved to a headquarters in San Bruno, California, where

    it remains.16 Its current business address is 901 Cherry Avenue in San Bruno.17 YouTube, LLC

    has no offices in the W.D. Tex. or any Texas location.18 YouTube, LLC                       .19

           In its April 4 and May 9 complaints and May 10 infringement contentions, Wildseed

    identified the following functionalities as allegedly infringing the Asserted Patents:

      ● Selecting and playing “mid-roll” ads in the middle of YouTube video playback, and
        buffering video content on the client-side while the ad was playing.20



9
  Declaration of William Randall in Support of Defendants’ Motion to Transfer (“Randall
Decl.”) ¶¶ 3-4.
10
   Id. ¶ 4.
11
   Id.
12
   Id.
13
   Id. ¶ 6.
14
   Id. ¶ 5.
15
   Id. ¶ 7.
16
   Id.
17
   Id.
18
   Id.
19
   Id.
20
   Declaration of Eric Hanson in Support of Defendants’ Motion to Transfer (“Hanson Decl.”)
Ex. D; see also First Amended Complaint, Dkt. 46 (“FAC”) ¶¶ 63-126.


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     ● Creating and sending a notification with a link to an uploaded YouTube video,21 shared
       photo in Google Photos,22 Google Meet meeting scheduled via Google Calendar,23 and a
       shared document in Google Docs.24
     ● Providing personalized event recommendations on mobile devices using inferred
       location and inferred entertainment preferences.25

 Based on Wildseed’s contentions, the relevant teams and employees identified in Appendix A

 are potential trial witnesses concerning these accused functionalities. They have relevant

 knowledge as they have designed, developed, and/or maintained the accused functionalities.

          In addition, Defendants’ patent licensing practices are at issue here. The individuals

 knowledgeable and responsible for licensing are on Google’s

                     .26 That team has     members in Texas.27 Instead,
                                                                                        28



          Given the location of these teams, relevant documents are also created and maintained

 outside of Texas and primarily in Northern California. As a matter of practice, documents about

 products and services are created and maintained by the employees working on them.29 Since

 none of the relevant teams and team members identified in Defendants’ investigation are

 assigned to Google’s Texas offices, and more are assigned to Northern California, documents

 are created and maintained outside of Texas, and primarily in Northern California.30



21
   Hanson Decl. Ex. E; FAC ¶¶ 236-59.
22
   Hanson Decl. Ex. F; FAC ¶¶ 211-36.
23
   Hanson Decl. Ex. G; FAC ¶¶ 260-83.
24
   Hanson Decl. Ex. F-H; FAC ¶¶ 284-307.
25
   Hanson Decl. Exs. I-K; FAC ¶¶ 127-210.
26
   Randall Decl. ¶ 8.
27
   Id.
28
   Id.
29
   See Declarations in Support of Defendants’ Transfer Motion from Sanjukta Mathur (“Mathur
Decl.”) ¶ 5; James Michael McCollum (“McCollum Decl.”) ¶ 6; Karthik Jayaraman (“Jayaraman
Decl.”) ¶ 5; Benjamin Hulse (“Hulse Decl.”) ¶¶ 4-7; Andrew McNamee (“McNamee Decl.”) ¶ 5;
and Annie Chen (“Chen Decl.”) ¶ 5.
30
   Mathur Decl. ¶¶ 3-5, 7; McCollum Decl. ¶¶ 4-5; Jayaraman Decl. ¶¶ 3- 6; Hulse Decl. ¶ 1, 3-7;


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          B.     Wildseed’s connections to W.D. Tex. are recent and limited.

          Plaintiff Wildseed is a Texas LLC that was formed in July 2021.31 According to the most

 up-to-date filing information maintained by the Texas Secretary of State, Wildseed’s address is

 an office suite on Balcones Drive in Austin.32 (This suite appears to be nothing more than the

 location for “Texas Registered Agent LLC,” a company that serves as the registered agent for

 numerous businesses.33) Nevertheless, beginning with it first complaint filed on December 1,

 2021 through its most recent on May 9, 2022, Wildseed identified its “place of business” at 510

 Austin Avenue in Waco.34 In reality, this is nothing more than a mail drop in a coworking space

 that was under construction and did not even open until February 2022.35 Even today, Wildseed

 does not appear to have an office suite, desk, or employees working in the building; instead it

 uses the site as a mailing address.36 What “business” Wildseed was conducting in a building still

 under construction was never explained in the original complaint.

          Wildseed itself appears to have been formed by its New York-based manager, Michael

 Jemal, for no reason other than to shift patents from his Delaware-based LLC into a Texas LLC,

 and manufacture a link to this judicial district. Each of the Asserted Patents were assigned to

 Wildseed from Varia Holdings LLC in mid-to-late 2021–months before this suit was filed.37

 The manager for Varia Holdings LLC is the same as Wildseed: Michael Jemal.38 And Mr. Jemal



McNamee Decl. ¶¶ 3, 6; Chen Decl. ¶¶ 1, 4-5.
31
   Declaration of Jacqueline A. Hartmann in Support of Defendants’ Motion to Transfer
(“Hartmann Decl.”), Ex. A.
32
   Id.
33
   Hartmann Decl. Ex. C.
34
   Dkt. No. 46. at ¶ 2.
35
   Hanson Decl. ¶¶ 2-3; Declaration of Mark Burrow in Support of Defendants’ Motion to
Transfer (“Burrow Decl.”) ¶¶ 2-4.
36
   Burrow Decl. ¶¶ 3-4.
37
   Hartmann Decl. Ex. B.
38
   Hartmann Decl. Ex. B (Michael Jemal identified himself as the “Manager” for Varia Holdings


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 appears to reside in or around New York City–not Texas.39

          C.     No known third-party witnesses are located in this District, but relevant
                 witnesses reside in or nearer to the N.D. Cal.

                 1.     At least eight prior art witnesses live in California.

          Although Defendants are still investigating potential prior art and developing their

invalidity contentions, Defendants have already identified numerous prior art witnesses in or near

the Bay Area. For the ’969, ’021, and ’040 Patents, U.S. Patent Nos. 7,787,818 and 7,937,380 are

prior art.40 Three of the four inventors of these patents appear to be based in the Bay Area, and the

fourth appears to be based in Los Angeles.41 For the ’169 Patent, the Shutterfly photo sharing

system is prior art; the Shutterfly company is headquartered in Redwood City, California, which

is located in the Bay Area.42 Also for the ’169 Patent, U.S. Patent No. 7,069,310 and U.S. Patent

Application No. 2002/0023134 are prior art.43 Inventors Steven G. Roskowski and Andrew D.

Ridel appear to be based in the Bay Area,44 and inventor Alan Bartholomew, appears to be based

in Pasadena, California.45

                 2.     Eleven inventors and patent prosecuting attorneys appear to live in
                        the Pacific Northwest.

          The inventors of all five Asserted Patents—Jonathan Nelson and Evan Feldman (’960,

 ’021, and ’040 patents) and Peter Zatloukal and Tyrol Graham (’040 and ’169 patents)—




LLC and signed the patent assignments before a notary in King County, New York. Also,
Wildseed Mobile LLC’s address is identified as a location on Broadway Street in New York
City); Ex A. (identifying Michael Jemal as the “Manager” for Wildseed Mobile LLC).
39
   Hartman Decl., Ex. D.
40
   Id. ¶¶ 22-23.
41
   Id. ¶¶ 22-23 and Exs. U, V.
42
   Id. ¶ 18 and Ex. Q.
43
   Id. ¶¶ 19-20.
44
   Id. ¶ 19 and Ex. R.
45
   Id. ¶ 20 and Ex. S.


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 appear to reside in the Seattle area, 46 which is far closer to the N.D. Cal. than to the W.D. Tex.

          All of the patent prosecuting attorneys are located outside of Texas.47 Aloysius AuYeung,

 who prosecuted the initial phases of the ’414 patent prosecution,48 and Robert Peck and Richard

 Legget, who handled the subsequent ’414 patent proceedings,49 appear to be based in the Seattle

 area. Jo Ann Schmidt, who prosecuted the ’960 patent, appears to be based in Woodland,

 Washington, 29 miles from Portland.50 Ryan Fox-Lee, who prosecuted the ’021 and ’960

 patents, appears to be based in Portland.51 Linda S. Zacariah, who prosecuted the ’960 patent,

 appears to be based in the Seattle area.52 Ryan Strauss, who prosecuted the ’040, ’021, and ’169

 patents, appears to be based in Portland.53 These locations are much closer to the N.D. Cal.

IV.       LEGAL STANDARD

           Under 28 U.S.C. § 1404(a), the moving party must first show that the claims “might

 have been brought” in the proposed transferee district. In Re Volkswagen of Am., Inc., 545 F.3d

 304, 312 (5th Cir. 2008) (“Volkswagen II”). Thereafter, the moving party must show that the

 transferee district is the clearly more convenient forum. Id. at 314-15. The determination of

 “convenience” turns on a number of public and private interest factors. Action Indus., Inc. v.

 U.S. Fid. & Guar. Co., 358 F.3d 337, 340 (5th Cir. 2004). The private factors include: (1) the

 ease of access to sources of proof; (2) the availability of compulsory process; (3) the cost of

 attendance for witnesses; and (4) all other practical problems that affect trial. In re Volkswagen


46
   Id. ¶¶ 6-9 and Exs. E-H. It appears that Eric Engstrom, the third inventor of the asserted ’040
and ’169 patents, passed away in 2020. See id. ¶ 10.
47
    Id. ¶¶ 11-17 and Exs. J-P.
48
    Id. ¶ 11 and Ex. J.
49
    Id. ¶¶ 12-13 and Exs. K-L.
50
    Id. ¶ 16 and Ex. O.
51
    Id. ¶ 14 and Ex. M.
52
    Id. ¶ 15 and Ex. N.
53
    Id. ¶ 17 and Ex. P.


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 AG, 371 F.3d 201, 203 (5th Cir. 2004) (“Volkswagen I”). The public factors include: (1) the

 administrative difficulties from court congestion; (2) the local interest in having localized

 interests decided at home; (3) the familiarity of the forum with the governing law; and (4) the

 avoidance of unnecessary problems of conflict of laws. Id.

V.        ARGUMENT: THE § 1404 FACTORS FAVOR TRANSFER

          A.      This case could have been filed in the N.D. Cal.

           A patent infringement case may be brought in “the judicial district where the defendant

 resides, or where the defendant has committed acts of infringement and has a regular and

 established place of business.” 28 U.S.C. § 1400(b); see also TC Heartland LLC v. Kraft Foods

 Grp. Brands LLC, 137 S. Ct. 1514, 1519 (2017). Plaintiff concedes that Defendants maintain

 their headquarters in the N.D. Cal.,54 and thus this case could have been filed there.

          B.      All private interest factors strongly favor transfer.

                  1.     The cost of attendance for willing witnesses strongly favors transfer.

          “The convenience of the witnesses is probably the single most important factor in [the]

transfer analysis.” In re Genentech, Inc., 566 F.3d 1338, 1343 (Fed. Cir. 2009). Because the

majority of willing witnesses reside in and around the N.D. Cal.–and none in W.D. Tex.–this factor

strongly favors transfer. See HD Silicon Sols. LLC v. Microchip Tech. Inc., No. W-20-CV-01092-

ADA, 2021 WL 4953884, at *5 (W.D. Tex. Oct. 25, 2021) (this factor “weighs strongly in favor

of transfer” where “the majority of party witnesses and potentially willing third-party witnesses

reside in [the N.D. Cal.], with no relevant witnesses in [the W.D. Tex.]”). Again, Google’s

headquarters—the strategic hub of the company’s business—has been located in the N.D. Cal.



54
     Dkt. 46, ¶¶ 3, 5.




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since both Google LLC and YouTube, LLC were founded.55 Most of the relevant employees with

knowledge related to the accused functionalities are based in or around the N.D. Cal., whereas

Defendants are aware of none in Texas.56 As explained in the supporting declarations, these

individuals have direct experience with the accused functionalities.57

          None of this is a surprise. As the Federal Circuit recently observed, “[g]iven that Google’s

accused functionality is at the center of the allegations . . . it is not surprising that witnesses reside

in Northern California–the location of Google’s headquarters where the accused technology was

developed.” In re Google LLC, No. 2022-140, 2022 WL 1613192 , at *3 (Fed. Cir. May 23, 2022)

(ordering transfer to N.D. Cal.). The fact the witnesses identified by Defendants happen to be

employees “does not negate the inconvenience and cost to those individuals to travel a significant

distance to testify.” In re Google LLC, No. 2021-170, 2021 WL 4427899, at *4 (Fed. Cir. Sept.

27, 2021); see also HD Silicon Sols., 2021 WL 4953884, at *5 (“the Federal Circuit now takes the

position that this Court should not accord the convenience of party witnesses less weight”).

          As for inventors and patent prosecuting attorneys, all reside in Washington or Oregon. It

would also be far more convenient for them to travel to the N.D. Cal. than the W.D. Tex.58

          Moreover, the distance between the location of the potential witnesses and the W.D. Tex.

is significant. “[I]t is an ‘obvious conclusion’ that it is more convenient for witnesses to testify at

home.” Volkswagen II, 545 F.3d at 317. Again, the large majority of anticipated trial witnesses




55
   Randall Decl. ¶¶ 3, 7.
56
   Mathur Decl. ¶¶ 3-4, 6-7; McCollum Decl. ¶¶ 4-5; Jayaraman Decl. ¶¶ 3-4, 6, 8; Hulse Decl.
¶ 3-7; McNamee Decl. ¶¶ 4, 6; Chen Decl. ¶ 4.
57
   See generally Mathur Decl., McCollum Decl., Chen Decl., Jayaraman Decl., Hulse Decl., and
McNamee Decl.
58
   Indeed, travel to the N.D. Cal. would even be more convenient for Wildseed’s own counsel,
who are based in Northern California themselves. See No. 6:22-cv-00357-ADA, Dkt. Nos. 8-15
(pro hac applications for Plaintiffs’ counsel located in the N.D. Cal.).


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reside in the N.D. Cal. whereas none reside in the W.D. Tex. Should this case remain in the W.D.

Tex., these witnesses would have to travel to Waco, Texas. This distance will impose costly and

time-consuming travel, as well as lost time from work and family. See In re Acer Am. Corp., 626

F.3d 1252, 1255 (Fed. Cir. 2010) (considering that “witnesses will suffer the personal costs

associated with being away from work, family, and community”) (internal quotations omitted).

          On the other side of the ledger, Defendants have not identified a single likely witness

located in the W.D. Tex., or anywhere in Texas. This case thus presents an even stronger case for

transfer than In re Juniper Networks, Inc., where the Federal Circuit ordered transfer to the N.D.

Cal. despite the fact that the plaintiff had identified a party witness in the W.D. Tex., 14 F. 4th

1313, 1319 (Fed. Cir. 2021); see also In re Netflix, Inc., No. 2022-110, 2022 WL 167470, at *4

(Fed. Cir. Jan. 19, 2022) (ordering transfer to the N.D. Cal. despite 7 employees in the E.D. Tex.).

          Finally, though Google has Austin and San Antonio offices, no expected trial witnesses are

based there.59 And merely having an office in the transferor district does not move the needle if

witnesses and evidence are located elsewhere. As the Federal Circuit has repeatedly held, the

transfer analysis is focused on “the locus of the events that gave rise to the dispute,” not “general

presence in the judicial forum[.]” In re Google LLC, No. 2021-171, 2021 WL 4592280, at *1, *6

(Fed. Cir. Oct. 6, 2021) (transfer to the N.D. Cal. appropriate notwithstanding Google’s offices in

Austin and San Antonio). See also In re Google LLC, 2022 WL 1613192 , at *4 n.3 (same); In re

HP Inc., No. 2018-149, 2018 WL 4692486, at *1-2 (Fed. Cir. Sept. 25, 2018) (transfer appropriate

even though the defendant “maintain[ed] an office” within the transferor district).

                 2.      The availability of compulsory process to secure attendance of
                         witnesses strongly favors transfer.



59
 Mathur Decl. ¶¶ 3-4, 7; McCollum Decl. ¶ 5; Jayaraman Decl. ¶¶ 4, 6, 8; Hulse Decl. ¶¶ 4-7;
McNamee Decl. ¶¶ 3-4, 6; Chen Decl. ¶ 4.


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          The availability of compulsory process heavily favors transfer because numerous third-

party witnesses reside in the N.D. Cal. Here, Defendants have identified at least six third-party

witnesses that are based in the N.D. Cal. and have relevant information. Specifically, six prior art

witnesses–Michael Spiegelman, William White, Andrew Shapiro, David Frerichs, Steven G.

Roskowski, and Andrew D. Ridel–are located in the transferee district.60 Compare In re Google

LLC, 2021 WL 4427899, at *1, *6–7 (weight should be given to the location of Google’s prior art

witnesses). Additionally, Shutterfly–a prior art photo sharing service–is located in the N.D. Cal.

Two additional prior art witnesses–Alan Bartholomew and Seth Skolnick–appear to reside in

Southern California.61 Defendants have located no prior art witnesses located in this District.

          A district court may compel attendance by a witness if the proceeding is (1) within 100

miles of the witness’s residence or place of business or (2) within the state if doing so would not

incur substantial expense. Fed. R. Civ. P. 45(c)(1). Thus, courts in this District cannot compel any

of the above third-party witnesses to attend a hearing or trial. At this stage, it is unknown whether

the prior art witnesses listed above, six of whom appear to reside in the N.D. Cal and two of whom

appear to reside in Southern California, would be willing participants; accordingly, they are

presumed to be unwilling witnesses that are considered under this factor. See In re Dish Network

L.L.C., No. 2021-182, 2021 WL 4911981, at *3 (Fed. Cir. Oct. 21, 2021). In sum, this factor

weighs heavily in favor of transferring this case to the N.D. Cal.

                 3.     The relative ease of access to sources of proof favors transfer.

          Because the sources of proof are far more accessible in the N.D. Cal., this factor favors

transfer. “In patent infringement cases, the bulk of the relevant evidence usually comes from the




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     Hartmann Decl. ¶¶ 19, 21-23 and Exs. R, T-V.
61
     Hartmann Decl. ¶¶ 18, 20, 22 and Exs. Q, S, and U.


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accused infringer. Consequently, the place where the defendant’s documents are kept weighs in

favor of transfer to that location.” In re Apple Inc., 979 F.3d 1332, 1340 (Fed. Cir. 2020).

          As noted above, the key witnesses and product teams for the accused functionalities are

based mainly in N.D. Cal. and are not based in Texas. These include Ben Hulse and          members

of his team based in the Bay Area;                        and      members of her team based in

California;           and     members of her team based in the Bay Area; and Karthik Jayaraman

and       team members based in the Bay Area;                   and     members of his team based

in California; and Sanjukta Mathur and her                 colleagues based in the Bay Area.62

          In contrast, none of the employees identified by Defendants as having knowledge relevant

are located in Texas. Most are located in Northern California with the rest in Southern California,

New York, North Carolina, Hawaii, or outside of the U.S.63 And documents about products and

services are created and maintained by the employees working on them.64

          In prior cases involving Defendant Google, the Federal Circuit has held that the location

of employees with relevant knowledge bears on the relative ease of access to proof as well. See,

e.g., In re Google LLC, No. 2021-178, 2021 WL 5292267, at *2 (Fed. Cir. Nov. 15, 2021) (district

court erred by “analyzing only the location of servers where documents are stored, rather than also

considering the location of document custodians and location where documents are created and

maintained, which may bear on the ease of retrieval”); In re Google LLC, 2021 WL 4592280, at

*7 (ordering transfer where the “source code and technical documents relating to the accused

activities, as well as a significant number of documents relating to Google’s marketing, finances,



62
   Hulse Decl. ¶¶ 1, 3-7; Jayaraman Decl. ¶¶ 3, 4, 8; McCollum Decl. ¶¶ 4-5.
63
   Mathur Decl. ¶¶ 3-4, 6-7; McCollum Decl. ¶¶ 4-5; Jayaraman Decl. ¶¶ 3-4, 6, 8; Hulse Decl.
¶¶ 1, 3-7; McNamee Decl. ¶¶ 3-4, 6; Chen Decl. ¶ 4.
64
   Mathur Decl. ¶ 5; McCollum Decl. ¶ 6; Jayaraman Decl. ¶ 5; Hulse Decl. ¶¶ 4-7; McNamee
Decl. ¶ 5; Chen Decl. ¶ 5.


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and sales, were created and are maintained in the Northern District of California”) (emphasis

added); In re Google LLC, 2022 WL 1613192, at *2 (ordering transfer where Google’s technical

documents were “physically present and/or electronically accessible” in the Northern District of

California).65 Because more employees with knowledge reside in N.D. Cal–and none in the W.D.

Tex.–the relative access to sources of proof is greater in the N.D. Cal. This factor favors transfer.

                  4.      Considerations of judicial economy favor transfer to N.D. Cal.

          The fourth private factor, which focuses on judicial economy and the existence of co-

pending litigation, also favors transfer. Apart from the action that Wildseed filed in the W.D. Tex.

and promptly dismissed, no other cases regarding the five Asserted Patents have been filed in the

W.D. Tex. As such, there is no co-pending litigation that might weigh against transfer.

          As for judicial economy, this consideration favors transfer where, as is the case here, the

“most witnesses are present in the transferee forum and the plaintiff has no presence in the Western

District.” Correct Transmission LLC v. ADTRAN, Inc., No. 6:20-CV-00669-ADA, 2021 WL

1967985, at *5 (W.D. Tex. May 17, 2021) (internal citation omitted). Again, the large majority of

the identified trial witnesses are located in the N.D. Cal., while none are located in the W.D. Tex.

Moreover, to the extent Wildseed has any presence in the W.D. Tex., it is merely a mail drop.66

The fourth private interest factor therefore favors transfer.

          C.     The public interest factors favor transfer to the N.D. Cal.

                 1.      Local interests strongly transfer to the N.D. Cal.

           The N.D. Cal.’s local interest in this lawsuit strongly favors transfer. The Federal




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   The potential for Defendants to pursue electronic access of these documents from Google’s
offices in the Western District of Texas does not cut against transfer. In re Google LLC, 2021
WL 4427899, at *6.
66
   Hanson Decl. ¶¶ 2-3; Hartmann Decl., Exs. A-C.


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 Circuit has repeatedly held that a judicial district where the allegedly infringing products were

 designed and developed has a strong interest in adjudicating infringement disputes locally. In

 re Google LLC, No. 2021-171, 2021 WL 4592280, at *5 (Fed. Cir. Oct. 6, 2021); In re

 Samsung Elecs. Co., Ltd., 2 F.4th 1371, 1380 (Fed. Cir. 2021); Juniper, 14 F.4th at 1319-20.

          Here, local interests favor transfer. Defendants were founded and continue to maintain

 their headquarters in the N.D. Cal. Additionally, the N.D. Cal. is where the majority of

 employees who are knowledgeable are based. And the N.D. Cal. is where Defendants design,

 develop, implement, and maintain the accused products. Accordingly, the N.D. Cal. has an

 interest in the adjudication of this matter. The W.D. Tex., on the other hand, has no connection

 with the events and parties relevant to this action. In particular, Wildseed has only a recent and

 insubstantial presence in this district—its office in Waco is no more than a mail drop that opened

 after Wildseed filed the first incarnation of this lawsuit. “[L]ittle or no weight should be

 accorded to a party’s ‘recent and ephemeral’ presence in the transferor forum, such as by

 establishing an office in order to claim a presence in the district for purposes of litigation.” In re

 Juniper Networks, 14 F.4th at 1320 (internal quotation omitted); see also id. (collecting cases);

 see also In re Google LLC, 2022-140, 2022 WL 1613192, at *4 (ordering transfer where N.D.

 Cal. had “substantial local interest” because products were designed and developed in N.D. Cal.

 and “plaintiff’s only connections to [E.D. Tex] were largely tied to bringing patent lawsuits in

 that district,” which was “not entitled to significant weight”).

                2.     The remaining public interest factors are neutral.

          The remaining three public interest factors are neutral. Both N.D. Cal. and W.D. Tex.

 are experienced in handling patent infringement lawsuits (third factor) and there are no

 conflicts of law at issue (fourth factor). As for court congestion, this factor is also neutral.




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           Court congestion is concerned with the “[a]dministrative difficulties” that result when

 “litigation accumulates in congested centers instead of being handled at its origin.” Turner v.

 Cincinnati Ins. Co., No. 6:19-CV-642-ADA- JCM, 2020 WL 210809, at *5 (W.D. Tex. Jan.

 14, 2020). Time to trial statistics show only small differences between N.D. Cal. and W.D.

 Tex—from March 31, 2021 to March 31, 2022, the median times to trial in the two districts

 were roughly the same–27.2 months in this Court versus 31.1 months in the N.D. Cal.67 See

 also In re Juniper Networks,, 14 F.4th at 1322 (“the Western District of Texas and the Northern

 District of California show no significant differences in caseload or time-to-trial statistics”).

          Regardless, any differences in the speed to trial between the two districts does not

meaningfully impact the analysis. The Federal Circuit has repeatedly held “that a court’s general

ability to set a fast-paced schedule is not particularly relevant to this factor.” In re Apple Inc.,

979 F.3d 1332, 1344 (Fed. Cir. 2020). Where, as is the case here, “several relevant factors weigh

in favor of transfer and others are neutral, then the speed of the transferee district court should

not alone outweigh all of those other factors.” Id. at 1344 n.5.68

VI.       CONCLUSION

          For the foregoing reasons, this case should be transferred to the N.D. Cal.



67
  Hartmann Decl., Ex. W.
68
  See also, e.g., In re Samsung Elecs. Co., Ltd., 2 F.4th at 1380 (reversing denial of transfer
motion where the court relied on “the prospective speed with which [the] case might be brought
to trial”); Monterey Rsch., LLC v. Broadcom Corp., No. W-21-CV-00541-ADA, 2022 WL
526242, at *14 (Feb. 21, 2022) (noting that “this Court’s ability to hold trials largely in line with
the default scheduling order” is afforded “little to no predictive weight” under the first public
interest factor). For that reason, “when other relevant factors weigh in favor of transfer or are
neutral, then the speed of the transferee district court should not alone outweigh those other
factors.” In re Juniper Networks, 14 F.4th at 1322 (citing In re Genentech, Inc., 566 F.3d 1338,
1347 (Fed. Cir. 2009)). See also In re Google LLC, 2022-140, 2022 WL 1613192, at *5
(“[N]either the district court nor [the patentee] has identified any reason why a more rapid
disposition of the cases should be assigned such significant weight here to outweigh the clear
convenience of the transferee forum.”).


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Dated: June 7, 2022                     Respectfully submitted,


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                               CERTIFICATE OF CONFERENCE

          As indicated in footnote 1 on page 1, I certify that counsel for Defendants conferred with

counsel for Plaintiff on June 7, 2022, regarding the foregoing Motion to Transfer. Plaintiff’s

counsel indicated that Plaintiff opposes the Motion to Transfer; thus, intervention by the Court is

necessary.
                                                       /s/ David Silbert
                                                       David Silbert




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                                   CERTIFICATE OF SERVICE

          I hereby certify that all counsel of record who have consented to electronic service are

being served with a copy of this document via electronic mail on June 7, 2022.

          I also hereby certify that all counsel of record who have consented to electronic service

are being served with a notice of filing of this document, under seal, pursuant to L.R. CV-5.2(e)

on June 7, 2022.

                                                        /s/ David Silbert
                                                        David Silbert


               CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

          I certify that the foregoing document is authorized to be filed under seal pursuant to the

Protective Order in this case and Judge Albright’s Standing Order Regarding Filing Documents

Under Seal in patent Cases and Redacted Pleadings.

                                                        /s/ David Silbert
                                                        David Silbert




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